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      This d ocu mentrelates to:                     )
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 1           GOOD CAUSE APPEARING THEREFOR, Indirect Purchaser Plaintiffs’ Administrative

 2    Motion To Seal Documents Pursuant to Civil Local Rules 7-11 and 79-5(d) is hereby

 3    GRANTED.

 4                                                                          June 10, 2014
 5           IT IS S O O RD E RE D .

 6                                                      DATED: _________________________________
                                                                    HON. SAMUEL CONTI
 7                                                           UNITED STATES DISTRICT JUDGE
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